     Case 2:11-cr-00181-WFN    ECF No. 295   filed 03/19/12   PageID.558 Page 1 of 6




 1


 2

 3

 4


 5

 6
                              UNITED STATES DISTRICT COURT
 7                           EASTERN DISTRICT OF WASHINGTON

 8
      UNITED STATES OF AMERICA,                      No.    CR-11-181-WFN-3
 9
                    Plaintiff,                       ORDER GRANTING MOTION AND
                                                     SETTING CONDITIONS
10
      v.                                             OF RELEASE
11
      MICHAEL A.       SHAHINIAN,                    0     Motion Granted
12
                                                           (Ct. Rec.   290)
                    Defendant.
13
                                                     •     Action Required
14

15   Date of Motion hearing: March 19, 2012.

16          IT IS ORDERED that the release of the Defendant is subject to the

17    following:

18
                             STANDARD CONDITIONS OF RELEASE


19

20    (1)      Defendant    shall   not   commit     any   offense     in   violation   of
               federal,    state or local     law.       Defendant     shall advise the
21             supervising Pretrial Services Officer and defense                 counsel
               within one business day of any charge,              arrest,    or contact
22             with law enforcement.


23    (2)      Defendant shall immediately advise the court, defense counsel
               and the U.S. Attorney in writing before any change in address
24             and telephone number.

25    (3)      Defendant shall appear at all proceedings as required and
               shall    surrender   for   service     of   any   sentence     imposed   as
26             directed.

27    (4)      Defendant shall      sign and complete A.O.           199C before being
               released and shall reside at the addressed furnished.
28
      (5)      Defendant shall not possess a firearm, destructive device or

      ORDER SETTING CONDITIONS OF RELEASE
Case 2:11-cr-00181-WFN   ECF No. 295   filed 03/19/12   PageID.559 Page 2 of 6
Case 2:11-cr-00181-WFN   ECF No. 295   filed 03/19/12   PageID.560 Page 3 of 6
Case 2:11-cr-00181-WFN   ECF No. 295   filed 03/19/12   PageID.561 Page 4 of 6
Case 2:11-cr-00181-WFN   ECF No. 295   filed 03/19/12   PageID.562 Page 5 of 6
Case 2:11-cr-00181-WFN   ECF No. 295   filed 03/19/12   PageID.563 Page 6 of 6
